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                      EXHIBIT B-1

                    Grillo Declaration
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                             )    Chapter 11
                                                                   )
HERCULES OFFSHORE, INC., et al.                                    )    Case No. 15-11685 (KJC)
                                                                   )
                                   Debtors.1                       )    Jointly Administered
                                                                   )

                DECLARATION OF EMANUEL C. GRILLO IN SUPPORT
                 OF THE DEBTORS’ APPLICATION FOR ENTRY OF AN
            ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
          BAKER BOTTS L.L.P. AS COUNSEL FOR THE DEBTORS AND DEBTORS
         IN POSSESSION EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

          I, Emanuel C. Grillo, being duly sworn, state the following under penalty of perjury:

          1.     I am a partner in the law firm of Baker Botts L.L.P. (“Baker Botts”), in its office

located at 30 Rockefeller Plaza, New York, New York, 10112. I am a member in good standing

of the State Bar of New York. There are no disciplinary proceedings pending against me.

          2.     I submit this declaration (the “Declaration”) in support of the Debtors’

Application for Entry of an Order Authorizing the Retention and Employment of Baker Botts

L.L.P. as Counsel for the Debtors and Debtors in Possession Effective Nunc Pro Tunc to the

Petition Date (the “Application”).2 Except as otherwise noted, I have personal knowledge of the

matters set forth herein.

                                     BAKER BOTTS’ QUALIFICATIONS

          3.     The Debtors seek to retain Baker Botts because of Baker Botts’ recognized

expertise and extensive experience and knowledge in the oil and gas industry and with debtors’


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Cliffs Drilling Company (8934); Cliffs Drilling Trinidad L.L.C. (5205); FDT LLC (7581); FDT
Holdings LLC (4277); Hercules Drilling Company, LLC (2771); Hercules Liftboat Company, LLC (0791); Hercules
Offshore, Inc. (2838); Hercules Offshore Services LLC (1670); Hercules Offshore Liftboat Company LLC (5303);
HERO Holdings, Inc. (5475); SD Drilling LLC (8190); THE Offshore Drilling Company (4465); THE Onshore
Drilling Company (1072); TODCO Americas Inc. (0289); and TODCO International Inc. (6326).
2
  Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.

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protections, creditors’ rights, and business reorganizations under chapter 11 of the Bankruptcy

Code. With restructuring professionals in New York and Texas, Baker Botts has been actively

involved in major chapter 11 cases and has represented debtors and significant stakeholders in

many cases, particularly in the energy industry. For example, Baker Botts represented Global

Geophysical Services, a publicly traded global oil and gas seismic company that reorganized and

exited bankruptcy in February 2015, ASARCO, and Pacific Lumber Company in their respective

chapter 11 cases. Baker Botts also represented NRG Energy, Inc. in its acquisition of Edison

Mission Energy through a chapter 11 plan of reorganization in 2014 and is currently representing

Hunt Consolidated in the Energy Future Holdings cases in this District.

       4.      In preparing for its representation of the Debtors in these chapter 11 cases, Baker

Botts has become familiar with the Debtors’ businesses, debt structure, and many of the legal

issues that may arise in the context of these chapter 11 cases. Baker Botts represented HERO in

connection with its initial public offering of equity securities more than 10 years ago, has

represented HERO in connection with various corporate, litigation and other matters for many

years, and has provided general finance counsel to the Debtors for more than 10 years prior to

the Debtors’ bankruptcy filing. In preparation for this filing, Baker Botts also advised the

company in connection with the evaluation of competing restructuring proposals and represented

the Debtors in the negotiation and drafting of the Restructuring Support Agreement, the Plan, the

Disclosure Statement and related implementation documents. I believe that Baker Botts is both

well qualified and uniquely able to represent the Debtors in these chapter 11 cases in an efficient

and timely manner.




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                                 SERVICES TO BE PROVIDED

       5.     Subject to further order of the Court and consistent with the Engagement Letter,

the Debtors request the retention and employment of Baker Botts to render the following legal

services:

       a.     advising the Debtors with respect to their powers and duties as debtors in
              possession in the continued management and operation of their businesses and
              properties;

       b.     advising and consulting on the conduct of these chapter 11 cases, including all of
              the legal and administrative requirements of operating in chapter 11;

       c.     attending meetings and negotiating with representatives of creditors and other
              parties in interest;

       d.     taking all necessary actions to protect and preserve the Debtors’ estates, including
              prosecuting actions on the Debtors’ behalf, defending any action commenced
              against the Debtors, and representing the Debtors in negotiations concerning
              litigation in which the Debtors are involved, including objections to claims filed
              against the Debtors’ estates;

       e.     preparing pleadings in connection with these chapter 11 cases, including motions,
              applications, answers, orders, reports, and papers necessary or otherwise
              beneficial to the administration of the Debtors’ estates;

       f.     representing the Debtors in connection with negotiation, documentation and
              obtaining authority to enter into financing arrangements as may be required
              including, but not limited to, the exit financing contemplated by the Plan;

       g.     advising the Debtors in connection with any potential sale of assets;

       h.     appearing before the Court and any appellate courts to represent the interests of
              the Debtors’ estates;

       i.     advising the Debtors regarding tax matters;

       j.     representing the Debtors and their current and former officers and directors in
              connection with any securities-based lawsuits and/or SEC inquiries;

       k.     taking any necessary action on behalf of the Debtors to negotiate, prepare, and
              obtain approval of a disclosure statement and confirmation of a chapter 11 plan
              and all documents related thereto, in particular the Plan and Disclosure statement
              on file with the Court; and



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       l.      performing all other necessary legal services for the Debtors in connection with
               the prosecution of these chapter 11 cases, including: (i) analyzing the Debtors’
               leases and contracts and the assumption and assignment or rejection thereof;
               (ii) analyzing the validity of liens against the Debtors; and (iii) advising the
               Debtors on corporate and litigation matters.

                                 PROFESSIONAL COMPENSATION

       6.      Baker Botts intends to apply for compensation for professional services rendered

on an hourly basis and reimbursement of expenses incurred in connection with these chapter 11

cases, subject to the Court’s approval and in compliance with applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures

and orders of the Court. The hourly rates and corresponding rate structure Baker Botts will use

in these chapter 11 case are comparable to the hourly rates and corresponding rate structure that

Baker Botts uses for its work in other bankruptcy and non-bankruptcy matters, regardless of

whether a fee application is required. These rates and the rate structure reflect that Baker Botts’

work is often national in scope and involves great complexity, high stakes, and severe time

pressures. Baker Botts will maintain detailed, contemporaneous records of time and any actual

and necessary expenses incurred in connection with the rendering of the legal services described

above by category and nature of the services rendered.

       7.      Baker Botts operates in a national marketplace for legal services in which rates

are driven by multiple factors relating to the individual lawyer, his or her area of specialization,

the firm’s expertise, performance, and reputation, the nature of the work involved, and other

factors. Prior to the Petition Date, Baker Botts charged the Debtors at a preferred rate that

incorporates a discount of approximately 10-15% off of Baker Botts’ standard billing rates.

Baker Botts will maintain this same rate structure for post-bankruptcy, pre-confirmation time

periods in 2015. Baker Botts did not vary its rates based on the filing of the bankruptcy cases or

the geographic location of the bankruptcy cases.

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         8.      Baker Botts’ current standard hourly rates range as follows:

                  Billing Category                                           Range
                       Partners                                        $750.00 - $1,250.00
                   Special Counsel                                     $600.00 - $1,000.00
                      Associates                                        $400.00 - $700.00
                  Paraprofessionals                                     $165.00 - $325.00

         9.      The following professionals presently are expected to have primary responsibility

for providing services to the Debtors, and their respective rates for this matter are set forth

below:

                    Timekeeper                                                 Rate
                 Grillo, Emanuel C.                                          $1,050.00
                 McDowell, Luckey                                             $750.00
                     Prince, Jim                                              $850.00
                  Weedon, Luke                                                $800.00


         10.     In addition, other Baker Botts professionals and paraprofessionals will provide

services to the Debtors.3 A complete list of Baker Botts professionals who are expected to

provide services in connection with these chapter 11 cases and their hourly rates for this matter

are attached as Exhibit B-2. In every instance, the rate is less than the individual’s standard

billing rate.

         11.     Baker Botts did not agree to any variations from, or alternatives to, Baker Botts’

customary billing arrangements for this engagement, except for the preferred rate described

above that incorporates a discount of approximately 10-15% off of Baker Botts’ standard billing

rates. None of the professionals included in this engagement varied their rate based on the

geographic location of these chapter 11 cases.


3
  Although Baker Botts does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely
event that it becomes necessary to use contract attorneys, Baker Botts will not charge a markup to the Debtors with
respect to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by
the Debtors in connection with work performed by Baker Botts will be subject to conflict checks and disclosures in
accordance with the requirements of the Bankruptcy Code.

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        12.      Baker Botts’ hourly rates are set at a level designed to fairly compensate Baker

Botts for the work of its attorneys and paraprofessionals and to cover fixed and routine overhead

expenses. Hourly rates vary with the experience and seniority of the individuals assigned. These

hourly rates are subject to periodic adjustments to reflect economic and other conditions.4

        13.      It is Baker Botts’ policy to charge its clients in all areas of practice for

identifiable, non-overhead expenses incurred in connection with the client’s case that would not

have been incurred except for representation of that particular client. It is also Baker Botts’

policy to charge its clients only the amount actually incurred by Baker Botts in connection with

such items.     Examples of such expenses include postage, overnight mail, courier delivery,

transportation, overtime expenses, computer-assisted legal research, photocopying, airfare,

meals, and lodging.

        14.      Baker Botts will charge the Debtors for photocopy and facsimile expenses

consistent with the United States Trustee guidelines in these chapter 11 cases. Baker Botts has

negotiated a discounted rate for Westlaw computer-assisted legal research. Computer-assisted

legal research is used whenever the researcher determines that using Westlaw is more cost

effective than using traditional (non-computer assisted legal research) techniques.

                COMPENSATION RECEIVED BY BAKER BOTTS FROM THE DEBTORS

        15.      Baker Botts has provided, and agrees to continue to provide, assistance to the

Debtors in accordance with the terms and conditions set forth in the Application and Engagement

Letter. The Debtors paid a $100,000.00 retainer to Baker Botts on March 13, 2015, which was

increased to $250,000.00 on April 22, 2015, and further increased to $500,000.00 on June 2,

2015. Baker Botts invoices the Debtor on a periodic basis for a variety of different matters,

4
 Baker Botts will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official committee
before implementing any periodic increases during the period from the Petition Date through confirmation of
Debtors’ chapter 11 plan.

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     including matters related to the preparation of the chapter 11 cases, and the Debtors typically pay

     those invoices by wire shortly after receiving the invoices, such that the amount on retainer has

     always exceeded the billed and unbilled amounts in the 90-day period before the Petition Date.

     The invoiced amounts that Baker Botts has sent to the Debtors for professional services and for

     the reimbursement of reasonable and necessary expenses and retainer replenishments during the

     90-day period before the Petition Date are set forth in the chart below.

                             Billed           Invoice         Invoice Payment        Retainer    Net Amount
 Type of Transaction        Amount             Date                 Date             Balance
 Retainer Balance as of
     May 15, 2015                                                                  $250,000.00
 Aggregate amount of
invoices outstanding as                   Before May 15,
   of May 15, 2015          $74,237.57         2015                                              $175,762.43
        Invoice              $1,450.00     May 22, 2015                                          $174,312.43
        Invoice              $1,749.53     May 22, 2015                                          $172,562.90
        Invoice             $82,279.58     May 22, 2015                                           $90,283.32
Direct Invoice Payment      ($1,450.00)                         May 26, 2015                      $91,733.32
Direct Invoice Payment      ($1,749.53)                         May 26, 2015                      $93,482.85
Direct Invoice Payment     ($82,279.58)                         May 26, 2015                     $175,762.43
   Retainer Increase      ($250,000.00)                         June 2, 2015       $500,000.00   $425,762.43
        Invoice             $61,092.16     June 2, 2015                                          $364,670.27
        Invoice              $2,635.00     June 2, 2015                                          $362,035.27
        Invoice            $105,192.34     June 2, 2015                                          $256,842.93
Direct Invoice Payment       ($430.00)                          June 4, 2015                     $257,272.93
Direct Invoice Payment     ($23,137.57)                         June 4, 2015                     $280,410.50
Direct Invoice Payment     ($45,600.00)                         June 4, 2015                     $326,010.50
        Invoice             $11,555.00      June 8, 2015                                         $314,455.50
        Invoice             $23,094.00     June 16, 2015                                         $291,361.50
        Invoice            $188,687.81     June 18, 2015                                         $102,673.69
Direct Invoice Payment     ($23,094.00)                         June 19, 2015                    $125,767.69
Direct Invoice Payment      ($1,200.00)                         June 19, 2015                    $126,967.69
Direct Invoice Payment    ($188,687.81)                         June 19, 2015                    $315,665.50
Direct Invoice Payment      ($3,870.00)                          July 1, 2015                    $319,525.50
Direct Invoice Payment      ($2,635.00)                          July 1, 2015                    $322,160.40
Direct Invoice Payment     ($11,555.00)                          July 1, 2015                    $333,715.50
Direct Invoice Payment     ($61,092.16)                          July 1, 2015                    $394,807.66


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                                  Billed        Invoice          Invoice Payment        Retainer   Net Amount
  Type of Transaction            Amount          Date                  Date             Balance
Direct Invoice Payment       ($105,192.34)                         July 1, 2015                    $500,000.00
          Invoice              $16,621.90     July 8, 2015                                         $483,378.10
          Invoice               $8,000.38     July 8, 2015                                         $475,377.72
          Invoice             $361,057.88     July 9, 2015                                         $114,319.84
Direct Invoice Payment        ($16,621.90)                         July 10, 2015                   $130,941.74
Direct Invoice Payment         ($8,000.38)                         July 10, 2015                   $138,942.12
Direct Invoice Payment       ($361,057.88)                         July 10, 2015                   $500,000.00
          Invoice               $1,785.00     July 12, 2015                                        $498,215.00
          Invoice               $7,951.90    August 4, 2015                                        $490,263,10
          Invoice              $17,750.00    August 4, 2015                                        $472,513.10
Direct Invoice Payment         ($7,951.90)                        August 5, 2015                   $480,465.00
Direct Invoice Payment        ($17,750.00)                        August 5, 2015                   $498,215.00
          Invoice             $421,642.20    August 6, 2015                                         $76,572.80
Direct Invoice Payment       ($421,642.20)                        August 7, 2015                   $498,215.00
          Invoice               $3,225.00    August 7, 2015                                        $494,990.00
          Invoice              $10,445.00    August 10, 2015                                       $484,545.00
          Invoice               $2,440.00    August 10, 2015                                       $482,105.00
          Invoice              $10,500.00    August 10, 2015                                       $471,605.00
Direct Invoice Payment         ($1,785.00)                      August 10, 2015                    $473,390.00
Direct Invoice Payment         ($3,225.00)                      August 10, 2015                    $476,615.00
Direct Invoice Payment        ($10,445.00)                      August 10, 2015                    $487,060.00
Direct Invoice Payment         ($2,440.00)                      August 10, 2015                    $489,500.00
Direct Invoice Payment        ($10,500.00)                      August 10, 2015                    $500,000.00
          Invoice             $101,233.97    August 11, 2015                                       $398,766.03
   Retainer Reduction        ($101,233.97)                      August 11, 2015                    $398,766.03
         Invoices             $110,335.00    August 12, 2015                                       $288,431.03
   Retainer Reductions       ($110,335.00)                      August 12, 2015                    $288,431.03
 Invoices on or after the                                                                          $263,182.13
  Petition Date for legal
services rendered before                       On or after
    the Petition Date         $25,248.90     August 13, 2015
 Retainer Reductions on                                                                            $263,182.13
or after the Petition Date
    for legal services
   rendered before the                                            On or after
       Petition Date          (25,248.90)                       August 13, 2015

              16.      As of the Petition Date, the Debtors do not owe Baker Botts any amounts for legal

      services rendered before the Petition Date. Pursuant to Bankruptcy Rule 2016(b), Baker Botts

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has not shared nor agreed to share (a) any compensation it has received or may receive with

another party or person, other than with the partners, associates, and contract attorneys associated

with Baker Botts or (b) any compensation another person or party has received or may receive.

                                 BAKER BOTTS’ DISINTERESTEDNESS

        17.     Baker Botts maintains a sophisticated computer database of all matters in which

Baker Botts is involved for the specific purpose of ensuring that it does not engage in activities

prohibited by applicable rules of professional responsibility and to assist it in avoiding conflicts

of interest. Additionally, Baker Botts regularly communicates to its attorney’s information with

respect to new matters undertaken by Baker Botts. This practice assists Baker Botts in its

ongoing efforts to avoid conflicts of interest in the representations it accepts.

        18.     In connection with its proposed retention by the Debtors in these chapter 11 cases,

the Debtors, or their professionals, delivered approximately 500 names of potential parties in

interest (the “Potential Parties in Interest”). Those approximately 500 names are divided into the

following seventeen groups listed by category in Exhibits (1)(a)–(p):5

    Schedule               Category
    1(a)                   Bankruptcy Judges
    1(b)                   Lenders
    1(c)                   Bondholders
    1(d)                   Equity Holders
    1(e)                   Customers
    1(f)                   Landlords
    1(g)                   Letter of Credit Issuers
    1(h)                   Directors and Officers
    1(i)                   Insurance Carriers and Brokers
    1(j)                   Known Affiliates
    1(k)                   Professional Firms
    1(l)                   Litigation Counterparties
    1(m)                   Government/Regulatory
    1(n)                   Taxing Authorities

5
 The information listed on Schedule 1 may have changed in the days leading up to the bankruptcy filing and may
change during the pendency of these chapter 11 cases. Accordingly, Baker Botts will update this Declaration as
necessary and when Baker Botts becomes aware of additional material information.

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    1(o)                      Utilities
    1(p)                      Significant Vendors
    1(q)                      Lists of the creditors from the foregoing list that constitute the thirty-
                              five largest unsecured creditors (which includes the indenture trustees
                              for the Debtors’ various bond issuances - as opposed to actual beneficial
                              holders of the bonds).

           19.     Baker Botts searched its electronic database6 for its connections to these entities

to determine whether it had any conflicts or other relationships with these entities that might

cause it not to be disinterested or to hold or represent an interest adverse to the Debtors. To the

extent that I have been able to ascertain that Baker Botts has been retained within the last three

years to represent any of the Potential Parties in Interest (or their affiliates, as the case may be) in

matters unrelated to these cases, such facts are disclosed on Schedule 2 attached hereto.7

           20.     Based on the conflicts search, to the best of my knowledge, neither I, Baker Botts,

nor any partner, counsel or associate thereof, insofar as I have been able to ascertain, has any

connection with the Debtors, their creditors or any other parties in interest, or their respective

professionals, except as disclosed or otherwise described herein. To the best of my knowledge,

(a) Baker Botts is a “disinterested person” within the meaning of section 101(14) of the

Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or

represent an interest adverse to the Debtors’ estates and (b) Baker Botts has no connection to the



6
  In searching the Firm’s electronic database, some of the companies whose names were used may have had multiple
affiliates for which Baker Botts may have done unrelated work. We conducted a separate search for the parents of
such companies, but did not separately search other affiliated companies. However, our database is organized in
such a way that we should be alerted to pertinent information regarding a related name. Moreover, in some
instances, our search revealed that the name we were checking (1) is an interested party in an unrelated matter in
which Baker Botts represents or represented another party (e.g., a defendant or co-defendant in unrelated litigation);
(2) pays or paid fees on behalf of clients of Baker Botts (in an unrelated matter); (3) was connected to a file(s) that
had been closed for years. Baker Botts’ inclusion of parties in Schedules 1 and 2 is solely to illustrate Baker Botts’
conflict search process and is not an admission that any party has a valid claim against the Debtors or that any party
properly belongs in the schedules or has a claim or legal relationship to the Debtors of the nature described in the
schedules.
7
 Schedule 2 does not include parties in interest listed on Schedule 1 if Baker Botts’ only connection is that a current
Baker Botts attorney or paraprofessional represented that entity while at a former law firm. However, to the best of
Baker Botts’ knowledge, such representations were unrelated to these Debtors.

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Debtors, their creditors, or other parties in interest, except as may be disclosed in this

Declaration.

       21.     Generally, it is Baker Botts’ policy to disclose clients in the capacity that they

first appear in a conflicts search. For example, if a client already has been disclosed in this

Declaration in one capacity (e.g., a customer), and the client appears in a subsequent conflicts

search in a different capacity (e.g., a vendor), Baker Botts does not disclose the same client again

in supplemental declarations, unless the circumstances are such in the latter capacity that

additional disclosure is required.

       22.     Baker Botts is a large law firm with hundreds of attorneys. Consequently, Baker

Botts may have “connections” with many of the attorneys and other professionals involved in

these chapter 11 cases. Baker Botts may have referred matters to professionals involved in these

chapter 11 cases and it may have been referred to matters by such parties. Baker Botts may

represent or have, from time to time, represented one or more of the professionals involved in

these chapter 11 cases.

       23.     Certain insurance companies pay the legal bills of Baker Botts clients. Some of

these insurance companies may be involved in these chapter 11 cases. None of these insurance

companies, however, are Baker Botts clients as a result of the fact that they pay legal fees on

behalf of Baker Botts clients.

       24.     For the avoidance of doubt, Baker Botts will not commence a cause of action in

these chapter 11 cases against parties identified as a current client on Schedule 2 (including

parties listed below under the “Specific Disclosures” section of this Declaration) unless Baker

Botts has an applicable waiver on file or first receives a waiver from such party allowing Baker

Botts to commence such an action. To the extent that a waiver does not exist or is not obtained



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from such client and it is necessary for the Debtors to commence an action against that client, the

Debtors will be represented in such particular matter by conflicts counsel.

       25.     Baker Botts will periodically review its files during the pendency of these chapter

11 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any

new relevant facts or relationships are discovered or arise, Baker Botts will use reasonable

efforts to identify such further developments and will promptly file a supplemental declaration,

as required by Bankruptcy Rule 2014(a).

                                     SPECIFIC DISCLOSURES

       26.     As specifically set forth below and in the attached exhibits, Baker Botts represents

certain of the Debtors’ creditors, customers, utility providers, insurance providers, or other

parties in interest in ongoing matters unrelated to the Debtors and these chapter 11 cases. None

of the representations described herein are materially adverse to the interests of the Debtors’

estates. Moreover, pursuant to section 327(c) of the Bankruptcy Code, Baker Botts is not

disqualified from acting as the Debtors’ counsel merely because it represents certain of the

Debtors’ creditors, equity security holders, or other parties in interest in matters unrelated to

these chapter 11 cases.

       27.     Baker Botts has represented all of the members of the corporate family of lead

Debtor Hercules Offshore, Inc. including a significant number of foreign non-debtor affiliates set

forth as “Known Affiliates” on Schedule 1(i). These non-debtor affiliates have a unity of interest

with the Debtors in respect of the Chapter 11 Cases. I understand that, as the Debtors and their

non-debtor foreign affiliates have prepared historical financial statements on a consolidated basis

material intercompany claims do not exist between them to be reconciled. In addition, on

account of the terms of the Plan and the exit financing contemplated thereby, the non-debtor



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affiliates will not have claims against the Debtors on account of, in connection with, or as a

result of these Chapter 11 Cases.

       28.     In addition, Baker Botts represented a number of the Debtors’ officers and

directors along with Debtor Hercules Offshore, Inc., in connection with a “say or pay” derivative

lawsuit brought in the United States District Court for the District of Delaware that was

dismissed in 2013. The individuals represented included Thomas Amonett, Thomas R. Bates,

Jr., Terrell L. Carr, Troy L. Carson, Thomas M. Hamilton, Thomas J. Madonna, F. Gardner

Parker, Thierry Pilenko, John T. Rynd, and Steven A. Webster.

       29.     A number of financial institutions appear to serve as holders of the Debtors’

unsecured notes for multiple accounts of unidentified hedge funds. Accordingly, Baker Botts

and the Debtors cannot determine who the ultimate beneficial holders are.              The financial

institutions themselves do not appear to be the ultimate beneficial owners of the notes, but only

serve as intermediaries. These institutions include Barclays Capital, Credit Suisse Securities

(USA) LLC, Deutsche Bank (London Branch), Deutsche Bank Securities Inc., Deutsche Post

Bank AG and Morgan Stanley. In view of their apparent role as intermediaries on behalf of

other holders, the role of these institutions does not adversely affect the disinterestedness of

Baker Botts although they are clients of the firm with respect to unrelated matters.

       30.     Finally, certain interrelationships exist among the Debtors.            Baker Botts

recognizes that there may be potential conflicts inherent in its concurrent representation of the

Debtors. Nonetheless, Baker Botts believes that such potential conflicts are non-material for

practical purposes and that the Debtors’ interests and strategies are fundamentally aligned for

purposes of receiving bankruptcy-related advice. Therefore, it is to the Debtors’ advantage to




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collectively employ Baker Botts as bankruptcy counsel for both economic and administrative

efficiency.

       31.      Notwithstanding the foregoing, Baker Botts’ joint representation of the Debtors

will be limited to those matters in which the Debtors’ interests are aligned on all material issues.

If the Debtors’ interests should become materially adverse with respect to any issue, then Baker

Botts will recommend to the Debtors that one or more of them retain separate counsel with

respect to that issue and, upon such recommendation, one or more Debtors will seek Court

approval to retain independent counsel for such matter as appropriate.

                       AFFIRMATIVE STATEMENT OF DISINTERESTEDNESS

       32.      Based on the conflicts search conducted to date and described herein, to the best

of my knowledge and insofar as I have been able to ascertain, (a) Baker Botts is a “disinterested

person” within the meaning of section 101(14) of the Bankruptcy Code, as required by section

327(a) of the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’

estates and (b) Baker Botts has no connection to the Debtors, their creditors, or other parties in

interest, except as may be disclosed herein.




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                                      EXHIBIT B-2
                  Timekeeper Billing Rates for In re Hercules Offshore, Inc.

     Category                               Name                       2015 Rate

Partner                Fowler, Rob                                      $850.00

                       Grillo, Emanuel C.                               $1,050.00

                       Emmons, David                                    $950.00

                       Prince, Jim                                      $850.00

                       Mandell, Josh                                    $700.00

                       McDowell, Luckey                                  $750.00

                       Murray Jr., Robert                               $1,050.00

                       Weedon, Luke                                      $800.00

                       Winwood, Eric                                    $750.00

Special Counsel        Alaniz, Omar J.                                  $625.00

Associate              Coleman, Sarah                                   $350.00

                       Culpepper, Clint                                 $450.00

                       Davis, Chad                                       $450.00

                       Everett, Grant                                   $600.00

                       Finelli, Jon                                     $650.00

                       Gilstrap, Meggie                                 $525.00

                       Huertas, Jaime                                   $575.00

                       Morris, David                                    $525.00

                       Newcomb, Chris                                    $575.00

                       Thomison, Andrew                                 $600.00

                       Uthoff, Brittany                                 $575.00

Paralegal              Fontenla, Rory M.                                $275.00
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         Jacobs, Sabrina                                $250.00

         Jones, Sara                                    $250.00
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                                 SCHEDULE 1




20316766                               2
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                                  Schedule 1(a)

                               Bankruptcy Judges

Kevin J. Carey
Kevin Gross
Brendan L. Shannon
Laurie Selber Silverstein
Christopher S. Sontchi
Mary F. Walrath
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                                          Schedule 1(b)

                                            Lenders
Amegy Bank of Texas, N.A.
Bancolombia
Capital One Bank
Citibank
Comerica Bank
DNB Bank ASA
HSBC
ING Bank
Standard Chartered
State Bank of India
United Bank for Africa
General Electric Capital Corporation
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                                      Schedule 1(c)

                                      Bondholders

Aberdeen Asset Management                      General Re-New England Asset
Alfred Berg Fondsmæglerselskab A/S             Management Inc
Allianz Global Investors Capital LLC           GIA Partners LLC
Ally Financial Inc                             GLG Partners Investment Funds
Asset Allocation & Management Co LLC           Global Investment Advisors
(AAM)                                          Goff Capital Partners LP
Aurora Investment Management                   Guggenheim Investment Management LLC
Avenue Capital Management II LP                Harris Investment Management
AXA Equitable Life Insurance Company           Hartford Investment Management Company
Babson Capital Management LLC                  (HIMCO)
BlackRock Financial Management Inc             HSBC Bank PLC IFS
(Fixed-Income)                                 Industrial Alliance Investment Management
Blackstone Group                               Inc
Blue Cross Blue Shield of Michigan             ING Financial Markets - Fixed Income
BNP Paribas Investment Partners (Belgium)      J.P. Morgan Asset Management Inc
Bowery Investment Management LLC               JPMorgan Securities - Fixed Income
Brookfield Asset Management                    Kansas City Life Insurance Co
CALSTRS                                        KDP Investment Advisors
Calvert Investment Management Inc              Kingsland Capital
Caspian Capital Management LLC                 Lazard Asset Management LLC
Caywood-Scholl Capital Management LLC          LGT Capital Management
CIBC Asset Management Inc                      Logan Circle Partners LP
Conning Asset Management                       Loomis, Sayles & Company LP
Crescent Capital Group                         Lord, Abbett & Co LLC
Cresent Capital                                Marco Consulting Group
Delaware Investments                           Merrill Lynch - Fixed Income
Delphi Capital Management Inc                  Mizuho Asset Management Co Ltd
Desjardins Global Asset Management Inc         Monegy Inc
Doscher Bond                                   Newfleet Asset Management LLC
DRW Securities LLC                             Nicholas Company
Eastspring Investments Limited                 NOBO & Retail Accounts
Eclectica Asset Management LLP                 Nomura Corporate Research & Asset
Elliott Management Corporation                 Management Incorporated
Euroclear Bank SA                              Nomura Securities - Fixed Income
Euromobiliare Asset Management SGR             Nuveen Asset Management LLC
S.p.A.                                         OakTree Capital Management LP
Fidelity Management & Research Company         Old National Trust & Investment
Fideuram Asset Management (Ireland)            Management
Limited                                        Oppenheimer Investment Management LLC
Franklin Square Capital Partners               Paradigm Asset Management Co Ltd
Franklin Templeton Investments                 Pax World Management LLC
FundQuest France                               PEAK6 Advisors LLC
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PENN Capital Management Company, Inc          Unidentified Hedge Fund Positions (Morgan
Pevide C.V.                                   Stanley)
Phoenix Investment Advisors                   Norman Selection Fund
Picton Mahoney Asset Management               Unidentified Hedge Fund Positions (UBS
Pinnacol Assurance Company                    Securities)
Pioneer Investment Management Inc             Ohio PERS
PPM America Inc                               Steamboat Capital Partners
Prime Advisors Inc                            TPH Asset Management
Principal Global Investors LLC                Leader Capital Corp
Prudential Investment Management-Fixed        Undiscovered Value Master Fund
Income (PIM Fixed Income)                     SGAS Scarlet Omega Limited
Putnam Investment Management LLC              American Beacon Advisors Inc
R2 Investments LDC                            Santander Investments
Rogge Global Partners                         DDJ Capital Management LLC
Russell Investments                           Neuberger Berman Fixed Income LLC
SEI Investments Management Corporation        CornerCap Investment Counsel Inc
State of South Dakota                         Munder Capital Management
State Street Global Advisors (SSgA)           Vanguard Group Inc, The
Susquehanna Capital Group                     American Century Investment Management
Swiss & Global Asset Management AG            Inc
SYZ Asset Management SA                       U.S. Bank National Association
T. Rowe Price Associates                      The Bank of New York Trust Company,
TCW Asset Management Co (TAMCO)               National Association
Third Avenue Management LLC
Thompson, Siegel & Walmsley LLC
UBS Global Asset Management (Australia)
Ltd
Unidentified Hedge Fund Positions
(Barclays Capital)
Unidentified Hedge Fund Positions
(Citigroup)
Unidentified Hedge Fund Positions (Credit
Suisse)
Unidentified Hedge Fund Positions
(Deutsche Bank)
Unidentified Hedge Fund Positions
(Goldman Sachs)
Unidentified Hedge Fund Positions
(JPMorgan Clearing)
Wellington Management Co LLP
Western Asset Management Co (WAMCO)
White Mountains Advisors LLC
Wilfred Aubrey LLC
Wolverine Asset Management
UBS Securities - Fixed Income
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                                  Schedule 1(d)

                                 Equity Holders

Dimensional Fund Advisors LP
BlackRock, Inc.
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                                 Schedule 1(e)

                                     Customers

Afren PLC
Arena Offshore, LP
Chevron U.S.A. Inc.
ENI Gabon S.A.
Linder Oil Company
Maersk Oil & Gas
Saudi Arabian Oil Company (ARAMCO)
Tana Exploration Company, LLC
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                                 Schedule 1(f)

                                  Landlords

Cousins Properties
Eddward E. Wright
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                                 Schedule 1(g)

                            Letter of Credit Issuers

Amegy Bank
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                                  Schedule 1(h)

                              Directors and Officers

Thomas N. Amonett
Susan V. Baer
Thomas R. Bates, Jr.
Cecil H. Bowden
Terrell L. Carr
Troy L. Carson
William T. Gordon
Shannon P. Guidry
Thomas M. Hamilton
Michael D. Howard
W. Brad James
Charles A. Lestage
Thomas J. Madonna
Richard E. McClaine
Craig M. Muirhead
Jaideep S. Nakai
F. Gardner Parker
Todd Pellegrin
Thierry Pilenko
Kimberly A. Riddle
John T. Rynd
Beau M. Thompson
Lawrence Uter
Son P. Vann
John F. Wasmuth
Steven A. Webster
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                                    Schedule 1(i)

                           Insurance Carriers and Brokers

ACE American Insurance Company
ANV Syndicate 1861
Arch Insurance Company Through Signal Administration, Inc.
Assuranceforeningen Skuld (Gjensidig), Skuld Mutual Protection & Indemnity Association
(Bermuda) Ltd.
Assurances Et Reassurances Du Congo (A.R.C)
Burnett & Co., Inc. On behalf of Lloyd’s Syndicate 1036
Hartford Lloyds Insurance Company
IR Underwriting Services, Inc. On behalf of Sirius Synd
Lloyd’s of London and London Companies
National Union Fire Insurance Company of Pittsburgh, PA
New York Marine and General Ins. Co. through ProSight Specialty Mgmt.
SafeShore from Signal Mutual
St. Paul Fire & Marine Insurance Company Through Travelers
StarNet Insurance Company a W.R. Berkley Company
Starr Indemnity & Liability Company through Safe Harbor Pollution Insurance
Starr Indemnity & Liability Company through Starr Marine Agency, Inc
Swiss Re International Se, (Zurich Office)
Talbot Underwriting Services (US) Ltd. On behalf of Talbot Underwriting Ltd
Newman Martin and Buchan LLP
Lockton
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                                     Schedule 1(j)

                                   Known Affiliates

Cliffs Drilling (Barbados) Holdings SRL
Cliffs Drilling (Barbados) SRL
Cliffs Drilling Company
Cliffs Drilling Trinidad L.L.C.
Cliffs Drilling Trinidad Offshore Limited
Discovery Offshore (Gibraltar) Limited
Discovery Offshore Drilling UK Ltd.
Discovery Offshore Sarl
Discovery Offshore Services Ltd.
FDT Holdings LLC
FDT LLC
Hercules Britannia Holdings Limited
Hercules British Offshore Limited
Hercules Discovery Ltd.
Hercules Drilling Company, LLC
Hercules International Drilling Ltd.
Hercules International Holdings, Ltd.
Hercules International Management Company Ltd.
Hercules International Offshore, Ltd.
Hercules Liftboat Company, LLC
Hercules North Sea Driller Limited
Hercules North Sea Ltd.
Hercules Offshore (Nigeria) Limited
Hercules Offshore Arabia, Ltd.
Hercules Offshore Holdings Ltd.
Hercules Offshore International, LLC
Hercules Offshore Labuan Corporation
Hercules Offshore Liftboat Company LLC
Hercules Offshore Middle East Ltd.
Hercules Offshore Services LLC
Hercules Offshore UK Limited
Hercules Offshore, Inc.
Hercules Oilfield Services Ltd.
Hercules Tanjung Asia Sdn. Bhd.
HERO Holdings, Inc.
HERO Offshore de Mexico, S. de R.L. de C.V.
SD Drilling LLC
THE Offshore Drilling Company
THE Onshore Drilling Company
TODCO Americas Inc.
TODCO International Inc.
TODCO Trinidad Ltd.
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                                       Schedule 1(k)

                                   Professional Firms

Akin Gump Strauss Hauer & Feld
Andrews Kurth
Blackstone
Kurtzman Carson Consultants ( KCC )
Lazard
Morris, Nichols, Arsht & Tunnell LLP
Prime Clerk
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                                   Schedule 1(l)

                             Litigation Counterparties

Alatari (Akassa) Fishing Co-Operative        First Mercury Insurance Company
Alexander, Betty on behalf of Joseph         Flores, Joshua
Alexander (deceased)                         Frances, Jr., Joseph
All Coast, LLC                               Francis, Joseph
Anders, Cedric                               Frich, Dan J.
Applied Drilling Technology, Inc.            Gedward, Lincoln
ARAMARK U.S. Offshore Services, LLC          Harrington, Brandy
Arceneaux, Sr., Allen Brian                  Harris, Erica
Aries Marine Corporation                     Hicks, Bryce Daniel
Axon Energy Products AS                      International Construction Group, LLC
Axon Pressure Products, Inc.                 International Marine, LLC
AXON, EP, Inc.                               International Pipeliner, LLC
Bayou Caddy Fisheries, Inc.                  International Shipyard, LLC
Beard, Earnie                                Jacob, Chadwick
Bell, Lance                                  Jones, Douglas
Blue Marlin Services of Acadiana, LLC        Jordan, Ervin
Broom, Michael                               Joubran, Robert
CAD Control Systems, Inc.                    Kaden Marine
Cameron International Corporation            Kalawski, Eva
Candy Fleet, LLC                             Kendall Law Group LLP
Case, Terry                                  Kibodeaux, Adam Lee
Coastal Catering, Inc.                       Kimbro, III, Bernard Terrell
Coastal Logistics                            L&M Botruc Rental, Inc.
Coastal Marine Contractors                   Lacaze, Paul
Colvin, Robert                               Lollo, Fracis
Conerly, Chauncey                            Maxum Indemnity Company
Coral Marine Services, LLC                   McGinnis, Olden
Cotlong, Dwayne                              Montgomery, Daniel
Cure, Michael D.                             Mouton, Audwin
Currence, Jr., Richard M.                    Myers, Garrard
Derouen, Jason                               National Oilwell Varco, LP
Donnelly, Jack                               National Union Fire Insurance of Pittsburgh,
Douglas, Eric                                PA
Ducksworth, Dwight                           Parker, Nathan
EPL of Louisiana, LLC & EPL Oil & Gas,       Patrick, Joe
Inc.                                         Patterson, Ryan
EPL Oil & Gas, Inc.                          Pearl River Fisheries of Louisiana, LLC
Erp, Matthew                                 Peavy, William
Ferris, Joshua D.                            Perez, Johnathan
Ferry Antigone, LLC                          Pertroleum Engineers, Inc.
Ferry Holding Corporation                    Peters, Robert
Ferry Holding, LLC                           Pierre, Paul
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Pittman, David                                  Zollo, Stephen
Platinum Equity Advisors, LLC
Platinum Equity Capital Ferry Partners I,
L.P.
Platinum Equity Capital Ferry Partners II,
L.P.
Platinum Equity Capital Partners-A II, L.P.
Platinum Equity Capital Partners-PF II, L.P.
Platinum Equity Investment Holdings II,
LLC
Platinum Equity Investment Holdings, LLC
Platinum Equity Partners II, LLC
Platinum Equity, LLC
Rentrop Tugs
Ryan, Douglas R.
Safety Management Systems, LLC
Schlumberger Technology Corporation
Sharrock, Kirk
Shea, Owen
Sherwood, Gerald Wayne
Shultz, Syrelle W.
Sigler, Mary Ann
Skinner, Richard
Spencer, Glensirres
Steadfast Insurance Company
Steele, Sr., Kelly B.
Stephens, Harley
Sun Boats, Inc.
Thomas, Denetra
Thompson, Michael F.
Tillman, George True
Use, Billy J.
Villarreal, Rafael
Voisin, Denis
Walloch, Dawn
Walter Oil & Gas Corporation
Ward, Sally A.
Warner, Donald Ray
Washburn Marine
Whitney Group, LLC
Wilcher, Barry
Williams Properties, LLC
Williams, Stephen J.
WMW, LLC
Y&S Marine, Inc.
Young, Germaine
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                                    Schedule 1(m)

                               Government/Regulatory

Alabama Office Of The State Treasurer
American Bureau of Shipping
Bureau Of Ocean Energy Management
Bureau Of Safety And Environmental Enforcement
Environmental Protection Agency
Federal Communications Commission
LISCR LLC
Louisiana State Treasurer
Mississippi Office Of The State Treasurer
Occupational Safety & Health Administration
Office Of The Indiana Attorney General
Oklahoma State Treasurer
United States Coast Guard
United States Environmental Protection Agency
Unites States Maritime Administration
US Coast Guard
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                                        Schedule 1(n)

                                     Taxing Authorities

Brazos County Appraisal District
Federal Inland Revenue Services - Nigeria
Fort Bend County Appraisal District
Harris County Appraisal District
Iberia Parish Assessor's Office
India Tax Department
Inland Revenue Authority of Singapore
Internal Revenue Service
Jackson County Assessor’s Office
Jefferson Davis Parish Assessor's Office
Jefferson Davis Parish School Board
Jefferson Parish Assessor’s Office
Lafayette Parish Assessor’s Office
LaFourche Parish Assessor's Office
Louisiana Department of Revenue
Ministry of Finance - Kuwait
Ministry of Finance - Qatar
Ministry of Finance - Saudi Arabia
Parish of Iberia
Parish of Jefferson
Parish of Lafayette
Parish of Lafourche - Sales Tax
Parish of Plaquemines
Parish of St Mary
Parish of St. Martin
Parish of Terrebonne
Plaquemines Parish Assessor
St. Charles Parish School Board
St. Martin Parish Assessor
St. Mary Parish Assessor's Office
St. Tammany Parish Assessor's Office
State of Delaware
Terrebonne Parish Assessor's Office
Texas Comptroller of Public Accounts
Texas State Comptroller
Waller County Appraisal District
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                                   Schedule 1(o)

                                      Utilities

AT&T Corp
AT&T Mobility
AT&T/BellSouth Communications, Inc.
AT&T/Southwestern Bell Telephone Company
Blue Water Rubber & Gasket Co.
C Port/Stone LLC
Consolidated Waterworks District No. 1
Directv
Dugas Oil Company Inc
Martin Energy Services, LLC
Phonoscope Cable
RH Communications
Rignet
Shred-It USA, Inc.
Sprint Spectrum, LP
Terrebonne Parish Consolidated Government
TW Telecom
Waste Management of South Louisiana
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                                          Schedule 1(p)

                                            Vendors

ACE IT Consulting and Facilitation LLC             Oilfield Instrumentation USA
Action Specialties, L.L.C.                         Pearl Meyer & Partners
Alexander/Ryan Marine Group Safety                 Rignet Inc.
Allendorph Specialties Inc.                        Rignet UK Limited
Andrews Kurth LLP                                  Safety Management Systems
Axon Pressure Products                             Salesforce.com, Inc.
Baker & McKenzie Sociedad Civil                    Seatrax, Inc.
Behavior Change Consultants, LLC                   Steptoe & Johnson, LLP
Bland & Partners                                   Superior Supply & Steel, Inc.
Bradford Marine Services LLC                       Sutherland Asbill & Brennan LLP
C&G Boats, Inc.                                    Total Safety LLC
C Port/Stone LLC                                   TxFab LLC
Cameron (Site Le Tourneau)                         Vetco Gray Pte. Ltd
Central Dispatch, Inc.                             WKW Financial Advisors
Charter Supply Company
Computex, Inc.
Crystal Offshore Pte Ltd
Deloitte Tax LLP
Eagle's Flight of America, Inc.
Gj Land & Marine Food Distributors Inc.
Gulf Agency Co. Bahrain
Hiller Offshore Services Inc
Houma Armature Works & Supply
JAD CATERING SERVICES LIMITED
Jason Crowe
Kennedy Wire Rope & Sling Co.
King & Spalding LLP
Lewis-Goetz & Company
Louisiana CAT
LHR Service & Equip., Inc.
Lloyd’s Register EMEA
Loadmaster Derrick & Equipment
Mantrac Nigeria Limited
Martin Energy Services, LLC
Martin Holdings, LLC
MCM Oil Tools
National Oilwell Varco Pte Ltd
NEXCO Engineering Services
Nssl Global Ltd
OES Oilfield Services (USA), Inc.
Offshore Equipment Solutions
Offshore International Mgt Pvt
Offshore Specialty Fabricators
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                                      Schedule 1(q)

                                    Top 35 Creditors

U.S. Bank National Association, as Trustee
The Bank of New York Trust Company, National Association, as Indenture Trustee
Crosby Tugs, LLC
Safety Management Systems
Gj Land & Marine Food Distributors Inc.
RigNet Inc
Reliable Engine Services
Offshore Equipment Solutions
NEXCO Engineering Services
National Oilwell Varco Pte Ltd
Kennedy Wire Rope & Sling Co.
C&G Boats, Inc.
JAD Catering Services Limited
Action Specialties, L.L.C.
Oilfield Instrumentation USA
Inquest, Inc.
Central Dispatch, Inc.
DNOW L.P.
Charter Supply Company
Alexander/Ryan Marine Group Safety
RigNet Uk Limited
Eagle's Flight of America, Inc.
Chandra Shipping & Trading Services
Loadmaster Derrick & Equipment Inc.
LHR Service & Equipment, Inc.
Allendorph Specialties Inc.
NOV Rig Solutions Pte Ltd
Intels Nigeria Limited
Axon Pressure Products
Martin Energy Services, LLC
Seatrax, Inc.
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                                       Schedule 2

                          Current Clients or Affiliates Thereof

American Bureau of Shipping
American International Group
Andrews & Kurth
AT&T, Inc.
Babson Capital Management
Bank of America - Merrill Lynch
Cameron International Corp.
Comerica Bank
Direct TV
DNB Banka ASA
Goldman Sachs & Co.
Hartford Financial Services Group
HSBC Bank USA, NA
ING Bank & ING Financial Markets
JP Morgan Securities
Lazard Freres & Co.
Martin Energy Services, LLC
Putnam Funds
Shred-It USA
St. Paul Fire & Marine Ins. Co.
The Carlyle Group & TCW Asset Management
The Prudential Insurance Company of America
The State of Texas
TW Telecom/Level 3 Communications, Inc.
UBS Securities LLC




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